
Upon consideration of the petition filed by Defendants on the 16th of May 2018 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 24th of October 2018."
Upon consideration of the petition filed on the 22nd of May 2018 by Defendants in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order *377was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 24th of October 2018."
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to this Court within the times allowed and in the manner provided by Appellate Rule 15(g)(2).
